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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
NORTHERN DIVISION AT COVINGTON

NICHOLAS SANDMANN, by and CASE NO. 19-CV-00056-WOB-CJS
through his parents and natural guardians,

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
v.
NBCUNIVERSAL MEDIA, LLC

Defendant.

NICHOLAS SANDMANN, by and : CASE NO. 20-CV-00023-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
Vv.

THE NEW YORK TIMES COMPANY
d/b/a THE NEW YORK TIMES

Defendant.

NICHOLAS SANDMANN, by and é CASE NO. 20-CV-00024-WOB-CJS
through his parents and natural guardians, :
TED SANDMANN and JULIE
SANDMANN,
Plaintiff,
V.

CBS NEWS, INC., et al.

Defendants.
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NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00025-WOB-CJS
through his parents and natural guardians, ;

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
v.
ABC NEWS, INC., et al.

Defendants.

NICHOLAS SANDMANN, by and - : CASE NO. 2:20-CV-00026-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
v.

GANNETT CO., INC. AND GANNETT
SATELLITE INFORMATION
NETWORK, LLC,

Defendants.

NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00027-WOB-CJS
through his parents and natural guardians, :
TED SANDMANN and JULIE

SANDMANN,
Plaintiff,
Vv.
ROLLING STONE, LLC, et al.

Defendants.
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DECLARATION OF ANTHONY TEE

1. My name is Anthony Tee. I make this Declaration from personal knowledge and
am competent to testify to the facts stated herein.

2. I am a hip-hop artist and disk jockey who performs under the name “Nymasis”. I
specialize in a genre of music known as indigenous hip-hop, which blends rap, hip-hop, and Native
and indigenous musical forms.

3. I am the individual pictured on the far right side of this image wearing a black and

white hat:

  

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4. On January 18, 2019, I attended the Indigenous Peoples March. I drove from

Oklahoma City to Washington, D.C. with my friend, Marcus Frejo, to attend the event. I
understood the event to honor Native culture and community, as well as to advocate for issues
important to indigenous people.

5. As the Indigenous Peoples March was starting to wrap up, I and Mr. Frejo helped

lead a closing prayer song near the Lincoln Memorial during a round dance, which is a traditional
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dance that is a vital part of Native American culture and tradition. The round dance is often
accompanied by percussive instruments, like hand drums.

6. At some point I began noticing a group of Black men spewing mostly hateful
language at those around them. I understood them to be Black Hebrew Israelites because I was
familiar with that group, as I had previously encountered Black Hebrew Israelite speakers. They
were saying a lot of derogatory things about Native Americans and others. At one point one of
them criticized Native American religion by saying words tothe effect of you worship the creation,
not the creator, and that’s why God has it out for Native Americans. I felt like that comment at
least was advocating a point of view rather than pure hate, so I briefly tried to engage with one of
the Black Hebrew Israelites just to make a connection.

7. Eventually I noticed a large group of white teenagers, who appeared to be students,
moving closer to the Black Hebrew Israelites. The Black Hebrew Israelites and the students started
engaging in a heated verbal back-and-forth.

8. Over time, the situation appeared to me to get increasingly volatile. The Black
Hebrew Israelites seemed like they were getting more aggressive, and in turn, the students were
getting more numerous, rowdy, and agitated. The students were being loud and chanting in unison,
and as they grew in numbers, they started to encroach on the area near where the Black Hebrew
Israelites were standing. I later found out that apparently these chants were school cheers, but I
had no idea of that at the time. I work with teenagers teaching Hip Hop music, but they did not
seem like school cheers to me.

9. My perception was that the male teenagers were reacting to the Black Hebrew
Israelites in a sort of aggressive, macho way. I did not think the teenagers likely intended to harm

them. But it looked to me like the Black Hebrew Israelites felt like they were being comered and
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might lash out aggressively in some way that could cause a fight to break out. I feared that the
situation was the perfect storm to escalate into a physical confrontation and students could get hurt.
As someone who regularly works with teenagers it seemed obvious to me that any adults
responsible for them should be intervening to get the students to stop their bravado and back away.
I was very surprised and concemed that no adults were doing that.

10. A Native elder, who I did not know but I later learned was Nathan Phillips, was
standing near me. I gave him my drum to use so that he could try to bring some calm to the
situation. This is a screenshot of me playing that drum during the round dance that afternoon,

wearing a green jacket:

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11. In Native culture, music has medicinal and spiritual power, and so it made sense
to me that music could quieten down the situation and ensure that everyone stayed safe. As I saw
it then and still do, Mr. Phillips was trying to administer medicine to heal a dangerous situation.
Mr. Phillips began singing the American Indian Movement song, which is a Native song that
instills peace and unity.

12. After Mr. Phillips started singing, I saw my friend Marcus move away from where
he was standing and go to be withMr. Phillips. I stayed back and saw Mr. Phillips walking towards
the students and Black Hebrew Israelites. He was followed by Marcus and a few other people who
seemed to follow as Mr. Phillips passed them. After Mr. Phillips and Marcus went up near the
crowd of students, the crowd seemed to surround them and I could not clearly make them out any
more. So I did not see exactly what happened after that.

13. What I did see and hear were students shouting and whooping, in what seemed to
me to be clear mockery of Native Americans and degrading an elder. When I saw teenagers
appearing to me to swarm around them, I became afraid for the safety of Marcus, Mr. Phillips, and
anyone else who might have followed them. Eventually, the students dispersed and I walked up
to be with Marcus.

14. After the incident concluded, it seemed to me like Mr. Phillips succeeded in
stopping something that could have been really bad from happening between the students and the
Black Hebrew Israelites. I remember feeling proud that Mr. Phillips and Marcus were able to calm
the situation. As I saw it, the students had tried to act in opposition to the medicine Mr. Phillips
was bringing them, but they did not succeed and it eventually brought healing. I believed then,
and still do, that the peaceful resolution of the situation spoke to the power of our music, prayer,

and culture.
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15. I have since read that Mr. Sandmann and his lawyers allege that Mr. Phillips’
intervention was some kind of planned publicity stunt. That is simply wrong. Mr. Phillips never
asked me nor, to my knowledge, anyone else to join him or to videotape anything. Mr. Phillips
did not even have a drum so he used mine, and to me it seemed the whole situation happened on
the spur of the moment. It deeply offends me that what was a peaceful, spiritual attempt reflecting
the essence of my culture to try to bring calm to a volatile situation is beng mischaracterized as
some kind of political stunt.

I affirm under the penalties of perjury that the foregoing is true and correct, to the best of

my knowledge.

Dated: November 15, 2021 C |
AA Ad ZA
Be a et
Anthony Tee GC)
